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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS


  TERRI PEPPER, DALLAS DEAN, DAVE                   )
  SEMANS, CARL MORELAND, HAROLD                     )
  AYDELOTT, DAVID CATHEY, JUSTIN                    )
  EVANS, KATHY DUFF, MELANIE                        )
  EDWARDS, MICHAEL DELONG,                          )
  NICOLE VELA GROSKOPF, RICHARD                     )
  HENDERSON, TODD CIANCIULLI,                       )
  JULIE LEICHTLE and CLINT STEINER,                 )
  individually and on behalf of all others          )
                                                           Case No. 4:20-cv-2961
  similarly situated,                               )
                                                    )
       Plaintiff,                                   )
                                                    )
  v.                                                )
                                                    )
  BEST STORM LEADS CORP.,                           )

       Defendant.


                           CONSENT NOTICE OF SETTLEMENT

         Plaintiffs Terri Pepper, Dallas Dean, Dave Semans, Carl Moreland, Harold Aydelott, David

Cathey, Justin Evans, Kathy Duff, Melanie Edwards, Michael DeLong, Nicole Vela Groskpf,

Richard Henderson, Todd Cianciulli, Julie Leichtle, and Clint Steiner respectfully hereby gives

notice to the Court that the parties in the above-styled matter have reached a settlement in principal

of this case in its entirety. The parties are currently preparing a written settlement agreement, but

anticipate it will take up to ninety (90) days to finalize all of the settlement documents and carry

out all of the actions contemplated therein. Plaintiffs respectfully request that the parties be

given ninety (90) days to finalize the settlement agreement and file the notice of dismissal.

Undersigned counsel has consulted with Defendant’s representative, who consents to the relief

requested herein.
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 This the 13th day of January, 2021.


                                       /s/ Cory S. Fein
                                       CORY S. FEIN (TX Bar No. 06879450)
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                                       /s/ Derek M. Bast
                                       Sean C. Wagner (pro hac vice)
                                       Derek M. Bast (pro hac vice)
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                                       Charlotte, North Carolina 28202
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                                       ATTORNEYS FOR PLAINTIFFS
                                       AND THE PROPOSED CLASS




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                             CERTIFICATE OF CONFERENCE

        I certify that Defendant’s counsel stated on January 13, 2021 that the Defendant consents
to the relief sought by this motion.

                                                             /s/ Derek M. Bast
                                                             Derek M. Bast

                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing with the Clerk of
Court using the CM/ECF system. I further certify that I have this day served a copy of the foregoing
on the following non-CM/ECF participants by depositing a copy thereof in an envelope bearing
sufficient postage in the United States mail, addressed to the following person(s) at the following
address(es), which is/are the last address(es) known to me:

       Best Storm Leads Corp.
       c/o Ali DeLavari, Registered Agent
       2952 Rodeo Drive
       Minneapolis, MN 55449

       This the 13th day of January, 2021.

                                                     /s/ Derek M. Bast
                                                     Derek M. Bast




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